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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                            8:13CR252

        vs.
                                                                               ORDER
BRICE LENHARD,

                        Defendant.


This matter is before the court on defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE
PRETRIAL MOTIONS [14]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 39-day extension. Pretrial Motions shall be filed by September
30, 2013.


        IT IS ORDERED:


        1.      Defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL
MOTIONS [14] is granted. Pretrial motions shall be filed on or before September 30, 2013.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between August 22, 2013 and September 30, 2013, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 23rd day of August, 2013.

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
